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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION


 IN RE: EXACTECH POLYETHYLENE ORTHOPEDIC
 PRODUCTS LIABILITY LITIGATION                                                         MDL No. 3044


                                        TRANSFER ORDER

 Before the Panel: * Plaintiffs in eight actions move under 28 U.S.C. § 1407 to centralize this
 litigation involving injuries associated with the implantation of polyethylene liners of certain hip,
 knee and ankle implants in the Eastern District of New York or, alternatively, the Eastern District
 of Pennsylvania or the Southern District of New York. Plaintiffs’ motion includes 27 actions
 pending in eleven districts, as listed on Schedule A, as well as 48 potentially-related actions. 1

          Plaintiffs in a total of nine actions and seventeen potential tag-along actions responded
 unanimously in support of centralization in the Eastern District of New York. Plaintiffs in the
 Eastern District of Arkansas Wilson action and eight potential tag-along actions alternatively
 suggest centralization in the Eastern District of Pennsylvania. Similarly, plaintiff in the first-filed
 Southern District of New York Patterson action offers the Southern District of New York as an
 alternative suggestion. Defendants Exactech, Inc. and Exactech U.S., Inc. (collectively, Exactech),
 initially supported centralization in either the Southern District of New York or the Eastern District
 of Louisiana. Defendants later revised their preferred transferee districts to include the Northern
 District of Florida, the District of South Carolina, and the Eastern District of Louisiana.

         After considering the argument of counsel, we find that centralization of these actions in
 the Eastern District of New York will serve the convenience of the parties and witnesses and
 promote the just and efficient conduct of the litigation. This litigation concerns two events
 concerning polyethylene components of Exactech medical devices. On June 28, 2021, Exactech
 issued a product safety alert regarding the clinical performance of the polyethylene liner used in
 its Connexion GXL hip systems. On August 31, 2021, Exactech initiated a recall related to
 polyethylene inserts used in its knee and ankle 2 devices because such devices were packaged in
 out-of-specification vacuum bags that are oxygen resistant but do not contain a secondary oxygen


 *
  Judges Nathaniel M. Gorton, David C. Norton, and Roger T. Benitez took no part in the decision
 of this matter.
 1
  These actions, and any other related actions, are potential tag-along actions. See Panel Rules
 1.1(h), 7.1 and 7.2.
 2
   No plaintiff on an action on the motion brings claims regarding an Exactech Vantage Total Ankle
 System device, and no potential tag-along plaintiffs have emerged with claims arising from the
 implantation of a Vantage device. If these types of cases materialize, then their inclusion in the
 MDL can be addressed via the conditional transfer order process.
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 barrier of ethylene vinyl alcohol. In August 2022, Exactech expanded its June 2021 recall to
 include additional Connexion GXL hip liners and other polyethylene liners. 3

         Plaintiffs in the actions before us allege that their knee or hip replacement devices (Optetrak
 and Truliant, and Connexion GXL, respectively) failed prematurely because of degradation of the
 device’s polyethylene component, which resulted in the premature removal (or planned removal)
 of the prosthesis at issue. All actions can be expected to share factual questions concerning the
 design, manufacture, testing, marketing, packaging, and performance of the polyethylene
 components of their Exactech devices. Plaintiffs allege that oxidation of the moderately cross-
 linked polyethylene used in the Exactech hip, knee and ankle devices causes inflammatory
 responses when implanted, generates polyethylene debris, crack, and loosen the device, all of
 which in turn requires revision surgery. Centralization offers substantial opportunity to streamline
 pretrial proceedings, reduce duplicative discovery and conflicting pretrial obligations, as well as
 prevent inconsistent rulings on common Daubert challenges and other issues.

         While any number of proposed transferee districts could ably handle this litigation, we are
 persuaded that the Eastern District of New York is the appropriate transferee district for these
 cases. The Eastern District of New York, where 26 cases are pending (over a third of the 75 total
 actions and potential tag-along actions), is a relatively underutilized transferee district. Several
 witnesses involved with the development of the Optetrak knee device may be found in the district
 at the Hospital for Special Surgery (HSS). Plaintiffs note HSS had a collaborative relationship
 since 1992 with Exactech, and some of its surgeons have studied the performance of Exactech hip
 and knee joints. While this district is relatively far from Gainesville, Florida, where Exactech is
 based, the defendants should not be inconvenienced by centralization in this district, as they appear
 to do substantial business here and initially proposed centralization in an adjoining district. By
 selecting Judge Nicholas G. Garaufis to preside over this litigation, we are selecting a skilled jurist
 who is well-versed in the nuances of complex and multidistrict litigation to steer this matter on a
 prudent course.




 3
   On August 11, 2022, Exactech expanded its prior Class II recall of polyethylene hip liners. The
 expanded recall affects approximately 40,000 Exactech moderately cross-linked (Connexion
 GXL) and conventional non-cross-linked ultra-high molecular polyethylene acetabular hip liners
 (marketed as Acumatch, MCS and Novation devices). As with potential cases involving a Vantage
 ankle system device, inclusion of the Acumatch, MCS and Novation devices in this MDL can be
 addressed via the conditional transfer order process.
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        IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
 the Eastern District of New York are transferred to the Eastern District of New York and, with the
 consent of that court, assigned to the Honorable Nicholas G. Garaufis for coordinated or
 consolidated proceedings with the actions pending there and listed on Schedule A.

                                       PANEL ON MULTIDISTRICT LITIGATION



                                      _______________________________________
                                                   Karen K. Caldwell
                                                         Chair

                                      Matthew F. Kennelly           Dale A. Kimball
                                      Madeline Cox Arleo
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 IN RE: EXACTECH POLYETHYLENE ORTHOPEDIC
 PRODUCTS LIABILITY LITIGATION                                              MDL No. 3044


                                         SCHEDULE A

       Eastern District of Arkansas

 WILSON, ET AL. v. EXACTECH, INC., C.A. No. 4:22−00136

       District of Colorado

 CARSON v. EXACTECH, INC., ET AL., C.A. No. 1:22−00919

       District of Connecticut

 PRAVIN v. EXACTECH, INC., ET AL., C.A. No. 3:22−00682

       Eastern District of Louisiana

 BILLUPS v. EXACTECH, INC., C.A. No. 2:22−01410

       District of Maryland

 MCBRIDE, ET AL. v. EXACTECH, INC., ET AL., C.A. No. 1:22−00615
 HODGE, ET AL. v. EXACTECH, INC., ET AL., C.A. No. 1:22−01026
 FOXWELL, ET AL. v. EXACTECH, INC., ET AL., C.A. No. 1:22−01027
 LAWS, ET AL. v. EXACTECH, INC., ET AL., C.A. No. 1:22−01206

       Eastern District of Missouri

 MENEESE v. EXACTECH, INC., ET AL., C.A. No. 4:22−00546

       District of New Jersey

 CERVELLI v. EXACTECH, INC., ET AL., C.A. No. 2:22−02967
 HEAD v. EXACTECH, INC., ET AL., C.A. No. 3:22−02938

       Eastern District of New York

 GOLDMAN v. EXACTECH, INC., ET AL., C.A. No. 1:22−01974
 DALY v. EXACTECH, INC., ET AL., C.A. No. 1:22−01978
 BERGER, ET AL. v. EXACTECH, INC., ET AL., C.A. No. 1:22−03158
 ALBERTI, ET AL. v. EXACTECH, INC., C.A. No. 2:22−00351
 FASSLER, ET AL. v. EXACTECH, INC., ET AL., C.A. No. 2:22−02633
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 AFZALI v. EXACTECH, INC., ET AL., C.A. No. 2:22−03455
 CUNEO, ET AL. v. EXACTECH, INC., ET AL., C.A. No. 2:22−03456

       Southern District of New York

 PATTERSON v. EXACTECH, INC., C.A. No. 1:21−06231
 LIBERATORE, ET AL. v. EXACTECH, INC., ET AL., C.A. No. 1:22−01994
 BURKE v. EXACTECH, INC., ET AL., C.A. No. 1:22−02086
 AGRO v. EXACTECH, INC., ET AL., C.A. No. 1:22−02134
 KREITZMAN v. EXACTECH, INC., ET AL., C.A. No. 1:22−04183
 INSDORF, ET AL. v. EXACTECH, INC., ET AL., C.A. No. 1:22−04885

       District of South Carolina

 OXENDINE v. EXACTECH, INC., ET AL., C.A. No. 3:22−01231
 DAVIS v. EXACTECH, INC., ET AL., C.A. No. 3:22−01236

       Northern District of Texas

 MORRISON, ET AL. v. EXACTECH, INC., ET AL., C.A. No. 3:22−00880
